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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 IN RE:
           Arlene Gregory                              Case No. 22-01955
                                                       Chapter 7
             Debtor,                                   Judge David D. Cleary
_________________________________/

    NOTICE OF MOTION OF SECURED CREDITOR FOR RELIEF FROM THE
AUTOMATIC STAY AND TO WAIVE THE PROVISIONS OF FED.R.BANKR.P.4001(A)(3)

       Please take notice that on May 25, 2022 at 10:00 a.m., I will appear before the Honorable
David D. Cleary, or any Judge sitting in that Judge’s place, and present the Motion of Rocket
Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans Inc. for relief from the automatic
stay and to waive the provisions of Fed.R.Bankr.P.4001(a)(3).

       This Motion will be presented and heard electronically using Zoom for Government. No
personal appearance in court is necessary or permitted. To appear and be heard on the motion, you
must do the following:

      To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID and
password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666.
Then enter the meeting ID and password.

        Meeting ID and password. The meeting ID for this hearing is 161 122 6457 and the password
is Cleary644. The meeting ID and password can also be found on the judge’s page on the court’s web
site.

         If you object to this motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection is
timely filed, the Motion will be called on the presentment date. If no Notice of Objection is timely
filed, the court may grant the motion in advance without hearing.


Date: May 16, 2022                           Rocket Mortgage, LLC
                                             By: /s/ Marc G. Wagman
                                             Potestivo & Associates, P.C.
                                             Marc G. Wagman
                                             223 W. Jackson Blvd., Suite 610
                                             Chicago, Illinois 60606
                                             mwagman@potestivolaw.com
                                             Telephone: (312) 263-0003
                                             Main Fax: (312) 263-0002
                                             IL ARDC: 6282192
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                                    AFFIDAVIT OF SERVICE

       I, Jordan Tucker, declare under the penalty of perjury that on the 16th day of May, 2022, I
served a copy of the Notice of Motion and Motion for Relief from Stay, Required Statement to
Accompany Motion for Relief, Proposed Order for Relief, and Affidavit of Service upon:


Arlene Gregory                    Edwin L Feld                    Ariane Holtschlag
17912 Oakood Avenue               1 N LaSalle Street              105 W. Madison
Lansing, IL 60438                 Suite 2250                      Suite 1500
                                  Chicago, IL 60602               Chicago, IL 60602

Office of the U.S. Trustee,
Region 11
219 S Dearborn St, Room 873
Chicago, IL 60604

By placing same in a well-sealed envelope, by first class mail, with the proper prepaid postage thereon
and depositing same in a United States Mail receptacle in the City of Rochester, State of Michigan to
the Debtor, and via CM-ECF electronic filing to Debtor’s Attorney, the Trustee and the Office of the
US Trustee.

                                             /s/ Jordan Tucker
                                             Jordan Tucker
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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 IN RE:
             Arlene Gregory                              Case No. 22-01955
                                                         Chapter 7
                 Debtor,                                 Judge David D. Cleary
__                                               /

    MOTION OF ROCKET MORTGAGE, LLC F/K/A QUICKEN LOANS, LLC F/K/A
 QUICKEN LOANS INC. FOR RELIEF FROM THE AUTOMATIC STAY AND WAIVING
   THE PROVISIONS OF FED.R.BANKR.P.4001(A)(3) AS TO THE REAL PROPERTY
         LOCATED AT 17912 OAKWOOD AVE, LANSING, IL 60438-2240

        Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans Inc. (“Movant”) moves

this Court, under § 362, and other sections of the Bankruptcy Reform Act of 1978, as amended (the

“Bankruptcy Code”) and under Rules 4001, 6007 and other rules of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) for an Order modifying the automatic stay, imposed by 11 U.S.C

§ 362 of the Bankruptcy Code, and for a waiver of the provisions of Fed.R.Bankr.P.4001(a)(3). In

support of this Motion, the Movant states:

        1.           The Debtor filed for chapter 7 bankruptcy relief on February 22, 2022.

        2.           The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334.

This is a core proceeding under 28 U.S.C. § 157(b)(2). Venue of this case and this Motion are proper

under 28 U.S.C. §§ 1408 and 1409.

        3.           On April 22, 2020, the Debtor obtained a loan from Quicken Loans Inc. in the

amount for $78,620.00. Such loan was evidenced by a promissory note executed by the Debtor dated

April 22, 2020 (the “Note”). The Debtor executed a Mortgage dated April 22, 2020 (the “Mortgage”),

conveying to Mortgage Electronic Registration Systems, Inc. as nominee for Quicken Loans Inc., a

lien on real property (the “Collateral”) owned by the Debtor, located at 17912 Oakwood Ave, Lansing,

IL 60438-2240. The lien is the first lien on the collateral.
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       4.            The Note and Security Agreement were transferred as follows:

                      (a) on July 8, 2021 to Quicken Loans, LLC; the transfer is evidenced by an

                          Assignment of Mortgage.

       5.            The estimated market value of the Collateral may be $93,000.00. This valuation

was obtained from Schedule “D” provided by the debtor. The current outstanding principal balance

due on the Note is $73,926.36 plus interest accruing at the rate of 3.62500% per annum [$7.35 per

day]. This amount may not include accrued interest, fees, late charges, escrow shortages or corporate

advances.

       6.           As of May 2, 2022 the total amount due is $76,671.96.

       7.           Upon reasonable investigation, no other parties are known to have an interest in

the Collateral.

       8.           Movant seeks an order for relief from the automatic stay in order to protect its lien

pursuant to the terms of the security agreement, to the extent allowed by law. Movant may in lieu of

foreclosure offer and provide Debtor with information re: a potential Forbearance Agreement, Loan

Modification, Refinance Agreement, or other Loan Workout/Loss Mitigation options, and may seek

to enter into such agreement with Debtor. Movant understands that it may not enforce or threaten to

enforce any personal liability against Debtor if Debtor’s personal liability is discharged in this

bankruptcy case or while the case remains pending.

       9.          Movant is entitled to relief from the automatic stay under §§ 362(d)(1). The Debtor

is in material default of the mortgage obligations by a failure to make the required ongoing monthly

mortgage payments.

       10.         Debtor is presently due for the July 1, 2021 monthly mortgage payment. There is a

present default of $6,967.51 in arrears to the Movant, less funds in suspense of $201.77, which does

not include attorney fees of $950.00 and costs of $188.00. The total default including attorney’s fees

and costs totals $8,105.51.
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       11.          Based upon the foregoing, cause exists for modifying the automatic stay with a

waiver of the provisions of Fed.R.Bankr.P.4001(a)(3) is appropriate; an order for relief should have

immediate effect.

       WHEREFORE, Movant prays for an Order from the Court for Relief from the Automatic

Stay of 11 U.S.C § 362 of the Bankruptcy Code as to the Movant with respect to the subject property

located at 17912 Oakwood Ave, Lansing, IL 60438-2240. Movant further requests that the provisions

of Fed.R.Bankr.P.4001(a)(3) be waived and that the Order for Relief from the Automatic Stay have

immediate effect, and further, remain in effect notwithstanding the conversion of this bankruptcy case

to a case under any other Chapter of Title 11 of the United States Bankruptcy Code.

                                             Respectfully submitted,
Date: May 16, 2022
                                             /s/ Marc G. Wagman
                                             Potestivo & Associates, P.C.
                                             Marc G. Wagman
                                             223 W. Jackson Blvd., Suite 610
                                             Chicago, Illinois 60606
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                                             IL ARDC: 6282192
                                             Attorneys for Rocket Mortgage, LLC
